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                                   STATEMENT OF FACTS

        On January 6, 2021, your affiant, Michael Attard was on duty and performing my official
duties as a Special Agent for the FBI. I am currently tasked with investigating criminal activity in
and around the Capitol grounds. As a Special Agent, I am authorized by law or by a Government
agency to engage in or supervise the prevention, detention, investigation, or prosecution of
violations of Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification are allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

       At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, shortly after
2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

       During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
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violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

         On January 14, 2021, the New York Post newspaper featured an article titled “Feds
investigating NYC sanitation worker caught on video at Capitol Hill riot.” The article identifies
the sanitation worker as Dominick Madden, 43, and reports that videos were circulating online that
identified Madden, who was photographed and videotaped shouting the QAnon slogan, wearing a
QAnon hoodie, and waving a trump flag in front of the Capitol building. The article states that
New York Post “Sources” advised Dominick Madden was under FBI investigation at the time of
this article. Below are two photographs your affiant captured from that article:
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       Based on the above information, on January 15, 2021, you affiant provided the description
of Dominick Madden to the US Capitol Police to request video footage of Dominick Madden
entering the Capitol building.

        On January 17, 2021, your affiant was advised by the U.S. Capitol Police that video
surveillance footage had been identified that showed Dominick Madden entering the U.S. Capitol
Building through the Senate Wing door at 14:59 hours on January 6, 2021. In the surveillance
video, he is wearing the same blue hooded sweatshirt and carrying the same flag as seen in the
New York Post article photograph. A screenshot of the surveillance video is provided below.
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       Dominick Madden is seen on video footage walking to the Crypt area of the U.S. Capitol
Building, as shown in the photo below, and returns back to the Senate Wing where he stands and
speaks to other rioters. He leaves through the same Senate Wing door at 15:12 hours.




       The FBI was able to identify a telephone number ending in -9989 with Dominick Madden
based upon database searches and through records provided by Dominick Madden’s employer.
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A subsequent internet search of this telephone number identified the below Telegram account
with Display Name "Dominick Madden". The profile picture of this Telegram account (on the
left) depicts an individual wearing a QANON shirt, whose appearance is consistent with other
photographs of Madden obtained by the FBI, as described below.




        On January 17, 2020, a Department of Homeland Security (HSI) Special Agent assigned
to the FBI New York City Office queried passport information for Madden. A United States
Passport was found to be issued to Dominick Dennis Madden with a date of birth and social
security number matching the information voluntarily provided by Dominick Madden’s
employer, the New York City Department of Sanitation.

       A review of the passport application provided by Dominick Madden for the issuance of
the above referenced passport indicates he is an employee of the “Department of Sanitation of
NY” and lists his employment as “sanitation worker,” consistent with the information in the New
York Post newspaper article depicting Dominick Madden at the U.S. Capitol Building.

       On January 19, 2021, New York City Department of Sanitation investigators advised the
FBI that Dominick Madden was interviewed on or about January 15, 2021, based on the New York
Post newspaper article. In the interview, Dominick Madden advised investigators for the New
York City Department of Sanitation that he was out on sick leave during the incident in question
on January 6, 2021, and admitted to being out of the house without authorization during this time
frame. For legal reasons, Dominick Madden was not questioned by the Ney York City Department
of Sanitation investigators regarding his participation in the riot or entrance into the U.S. Capitol
Building on January 6, 2021. Dominick Madden is currently suspended by the New York City
Department of Sanitation.

       The FBI obtained records from New Jersey license plate readers regarding the license plate
associated with Madden in New York DMV records. License plate readers captured Madden’s
vehicle traveling on I-295 southbound at the Delaware Memorial Bridge on January 5, 2021.
Additionally, on January 7, 2021, a partial plate reading for the vehicle was captured returning
northbound on I-295 at the Delaware Memorial Bridge.

        Maryland license plate readers similarly capture Madden’s vehicle traveling southbound
on I-95 and I-895 on January 5, 2021, through the Baltimore region, consistent with a person
traveling towards Washington, D.C. Additionally, on January 7, 2021, Maryland license plate
readers captured Madden’s vehicle traveling northbound on I-895 and I-95 through the Baltimore
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region, consistent with a person returning to the New York region—by way of the Delaware
Memorial Bridge.

        On January 20, 2021, investigators with the New York City Department of Investigation
informed the FBI that they made contact with an employee at the New York City Department of
Sanitation who knows Dominick Madden and has worked with him since 2016. The employee
was shown the video linked to the New York Post article from January 6, 2021 at the U.S. Capitol
Grounds. When asked if he recognized the person in the video, the employee indicated that he
“could be a person who works for me” and stated the individual “looks like Madden.” The
employee indicated they refer to others they work with by their last name, and confirmed that they
were referencing Dominick Madden.

        Based on the foregoing, your affiant submits that there is probable cause to believe that
Dominick Madden violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1)
knowingly enter or remain in any restricted building or grounds without lawful authority to do;
and (2) knowingly, and with intent to impede or disrupt the orderly conduct of Government
business or official functions, engage in disorderly or disruptive conduct in, or within such
proximity to, any restricted building or grounds when, or so that, such conduct, in fact, impedes or
disrupts the orderly conduct of Government business or official functions; or attempts or conspires
to do so. For purposes of Section 1752 of Title 18, a “restricted building” includes a posted,
cordoned off, or otherwise restricted area of a building or grounds where the President or other
person protected by the Secret Service, including the Vice President, is or will be temporarily
visiting; or any building or grounds so restricted in conjunction with an event designated as a
special event of national significance.

        Your affiant submits there is also probable cause to believe that Dominick Madden violated
40 U.S.C. § 5104(e)(2)(D) & (G), which makes it a crime to willfully and knowingly (D) utter
loud, threatening, or abusive language, or engage in disorderly or disruptive conduct, at any place
in the Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or disturb the
orderly conduct of a session of Congress or either House of Congress, or the orderly conduct in
that building of a hearing before, or any deliberations of, a committee of Congress or either House
of Congress; and (G) parade, demonstrate, or picket in any of the Capitol Buildings.



                                                     _________________________________
                                                     Michael Attard
                                                     Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 21st day of January 2021.
                                                                          2021.01.21
                                                                          15:57:02 -05'00'
                                                     ___________________________________
                                                     ROBIN M. MERIWEATHER
                                                     U.S. MAGISTRATE JUDGE
